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                                                 THE HONORABLE JAMES L, ROBART
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4
                         UNITED STATES DISTRICT COURT
5                  WESTERN DISTRICT OF WASHINGTON AT SEATTLE
6
     LOCALS 302 AND 612 OF THE
7    INTERNATIONAL UNION OF                     NO. C19-01527-JLR
     OPERATiNG ENGiNEERS
8    CONSTRUCTiON INDUSTRY HEALTH               MOTION FOR AND AFFIDAVIT FOR
     AND SECURITY FUND , et aL                  ENTRY OF DEFAULT JUDGMENT
9
                         Plaintiffs,
10


II                V.




12   509 EXCAVATING LLC, a Washington
     limited iiability company,
13
                         Defendant,
14

15
           Pursuant to Rule 55(b) of the Federal Rules of Civil Procedure, Plaintiffs pray
16
     the Court for judgment against Defendant, 509 Excavating LLC.
17
           This motion is based on documents on file with the court, upon the attached
!8
     affidavit of Russell J. Reid and exhibits hereto, and upon the Declaration of Adam
19


20   Keck and exhibits thereto, which evidence Plaintiffs are entitled to judgment against

21   Defendant, 509 Excavating LLC.

22


23


24

25


26   MOTION FOR AND AFFIDAVIT FOR ENTRY OF                   Reid, McCarthy, Ballcw & Lcahy, L.L.E
     DEFAULT JUDGMENT - C19-0527-JLR                                         ATTORNEYS AT LAW
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                                                                          SEATTLE, WASHiNOTON 98119
                                                                  TELEPHONE: (206) 285-0464 • FAX: (206) 285-8925
                                                                                  ®^g^w
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1           DATED this          day of October, 2019,

2

3
                                                 REID, MCCARTHY, BALLEW& LEAHY,
4                                                L.L.P.


5


6

                                                 Russell J, Reid/^t3A#2560
 7
                                                 Attorney for Plairftiffs
8


9                                            AFFIDAVIT
10
     STATE OF WASHINGTON                 )
                                         ) ss,
11
     County of King )
12
            RUSSELL J. REID, being first duly sworn on oath, deposes and says:
13
            1. I am one of the Plaintiffs' attorneys and make this affidavit in support of
14
     their motion for judgment after entry of default.
15
            2. Plaintiffs brought this action to collect contributions, dues, liquidated
!6

!7   damages, interest, attorneys' fees and costs due them by reason of Defendant's


18   employment of members of the bargaining unit represented by Local 302 of the

19   International Union of Operating Engineers, with which the Defendant has a valid

20
     labor contract, and by reason of its acceptance of Plaintiff Trusts' Agreements &<
21
     Declarations of Trust (hereinafter "Trust Agreements"),
22
            3. As evidenced by the records on file with the Court, an Order of Default
23
     has been entered against Defendant. (See Exhibit A attached).
24

25


26   MOTION FOR AND AFFIDAVIT FOR ENTRY OF
                                                                   Rcid, McCarthy, Ballew & Leahy, L.i..P.
     DEFAULT JUDGMENT - C19-0527-JLR                                                 ATTORNB'.SATLAW
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           4. The Court has jurisdiction over the subject matter of this action under

     Section 502 (e)(l) and (f) of the Employee Retirement income Security Act of 1974
2

3    ("ERISA"), 29 U,S.C. §1132 (e)(l) and (f) and under Section 301 (a) of the Taft-

4    Hartiey Act, 29 U.S.C. §185 (a).

5           5, Venue is proper in this district under Section 502 (e)(2) of ERiSA, 29
6
     U.S.C. §1132 (e)(2), because plaintiff Trusts are administered in this district.
7
            6. As alleged in COUNT ONE, paragraph i of Plaintiffs' complaint. Plaintiff
8
     Trusts are unincorporated associations operating as Trust Funds pursuant to Section
9
     302 of the Labor Management Relations Act of 1947, as amended, under the
10

11   respective names of Locais 302 and 612 of the International Union of Operating

12   Engineers-Construction Industry Health & Security Fund, Locals 302 and 612 of the

13   International Union of Operating Engineers-EmpEoyers Construction Industry

14
     Retirement Fund, and Western Washington Operating Engineers-Empioyers Training
15
     Trust Fund, to provide medical, retirement, and training benefits to eligible
16
     participants. Plaintiffs' offices are located in King County, Washington.
17
            7. As alleged in COUNT ONE, paragraph V of Plaintiffs' complaint,
18

     Defendant is bound to a collective bargaining agreement (see, Keck Decl. T|7, Ex. A)
19


20   with Local 302 of the international Union of Operating Engineers (hereinafter

21   "Locai"), under which Defendant is required to promptly and fuliy report for and pay

22
     monthly contributions to the Plaintiffs at varying, specified rates for each hour of

23
     compensation Defendant pays to its employees who are members of the bargaining
24
     unit represented by the Local (such bargaining unit members are any of Defendant's
25


26   MOTION FOR AND AFFIDAVIT FOR ENTRY OF
                                                                Reid, McCarthy, Ballew & Leahy, L.L.P.
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     part time or full time employees who perform any work tasks covered by Defendant's
I

     labor contract with the Locai, whether or not those employees actually join the
2

3    Local).

4              8. As alleged in COUNT ONE, paragraph VI of Piaintiffs' compiaint,

5    Defendant accepted Plaintiffs' respective Agreements and Declarations of Trust and

6
     thereby agreed to pay to the Operating Engineers Construction Industry Health and
7
     Security Trust and to the Operating Engineers-Empioyers Construction industry
8
     Retirement Fund liquidated damages equal to twelve percent (12%) ofait delinquent
9
     and deiinquently paid contributions, or $25.00 per month, whichever is greater, and
10

11
     tweive percent (12%) annual interest accruing upon each monthly contribution

12   delinquency from the first day thereof until fully paid, as well as all attorneys fees and

13   costs, including audit expenses ifappiicabie, which Plaintiffs incur in the collection of

14
     ail of Defendant's unpaid obligations. See, Keck Decl., Ex. B (Article II, Section 9.
15
     pp. 12-14). Ex. C (Article II. Section 9, pp. 10-12), and Ex. D (Article II. Section 9,
i6
     PP. 4-5)).
17
               9. As alleged in COUNT TWO, paragraph I of Plaintiffs' complaint, Plaintiff
i8

19
     Local 302 of the International Union of Operating Engineers is a iabor organization

20   with its principal offices in King County, and brings this action pursuant to Section

21   301 of the Labor Management Relations Act of 1947, as amended.

22             10. As alleged in COUNT TWO, paragraph II of Plaintiffs' complaint,

23
     Defendant is a Washington limited liability company.
24

25

26   MOTION FOR AND AFFIDAVIT FOR ENTRY OF
                                                                Reid, McCarthy, Ballew & Leahy, L.LP.
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            11. As alleged in COUNT TWO, paragraph ill of Plaintiffs' complaint,
I

     Defendant entered into an agreement with the Loca!, whereunder Defendant agreed
2

3    to deduct from the periodic paychecks of Defendant's employees who are

4    represented by the Local specified amounts for each hour of compensation

5    Defendant pays to those employees and to remit the total thus deducted each month

6
     to the Trusts no later than the fifteenth (15th) of the month immediateiy foilowing the
7
     month in which such deductions were made. (Keck Decl. (Ex. A).
8
            12. Defendant submitted its reports for the period June 2019 through
9
     August 2019 (Exhibit E attached to Adam Keck's Dec.), but failed to pay the
10

It   contributions and dues owed to the Trust for that period. Accordingly, Defendant is

12   obligated to the Trust Funds for contributions in the amount of $91,590,55, for dues

13   in the amount of $5,673.55, for liquidated damages in the amount of $11,014.25, and

14
     for interest (thru 10/25/19) in the amount of $2,038.35 for the period June 2019
15
     through August 2019.
16
            13, The Excel spreadsheet, which is attached as Exhibit F to Adam
17
     Keck's Declaration, reflects the date when contributions and dues were due, and
!8


19   also includes calculations of liquidated damages and pre-Judgment interest. Exhibit

20   F shows the amounts owed for the Health and Welfare Trust, the Pension Trust and

21   the Training Trust. This information is based on the employer remittance reports

22
     found as Exhibit E to Keck's Declaration. Liquidated damages are calculated at a
23
     rate of 12% of the amount of the delinquent contributions still owed for the Health and
24
     Welfare Trust Fund, the Pension Trust Fund and the Training Trust Fund, interest
25

26   MOTION FOR AND AFFIDAVIT FOR ENTRY OF                     Reid, McCarthy, Ballcw & Leahy, L.LR
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     accrues until the contributions are paid in fuli. Interest is only calculated based on
1

     the delinquent contributions still owed. Interest accrues from the date contributions
2

3    are due at a rate of 12% per annum until paid in fu!l. Dues are calculated at a rate of

4    2% of gross wages paid out by 509 Excavating LLC. This is calculated on the

5    remittance reports found as Exhibit E to Adam Keck's Dedaration. These
6
     calculations are then inserted into the Exce! spreadsheet that is found as Exhibit F to
7
     Adam Keck's Declaration.
8
            14, Plaintiff Trusts have incurred attorneys' fees of $543.00 and court costs
9
     of $461.00 in connection with Defendant's unpaid obligations. Exhibit B, attached
10

11   hereto, sets forth the true and correct itemization of attorney and non-attorney time

12   spent on this matter. The attorney's hourly rate does not incorporate the cost of work

13   performed by non-attomeys. Consistent with Trustees of Construction Industry v.
14
     Redtand Insurance Company, 460 F.3d 1253 (9 dr., 2006) the award of fees for
15
     both attorneys and non-attorneys is customary and fees for both attorneys and non-
16
     attorneys have been approved by numerous judges in the United States District
17
     Court for the Western District of Washington. True and correct copies of the Orders
18


19   awarding fees and declarations showing the fees awarded were for work by attorneys

20   and non-attorneys are attached hereto as Exhibit C.

21          15. The attorney fees incurred by Plaintiffs include work performed by

22
     attorney, Russell J. Reid, and non-attorneys, Shelly Azus and Shelly Trahin.
23
            16. Based upon the pleadings heretofore filed with the Court, upon the
24
     foregoing information and exhibits hereto, it has been evidenced as foilows:
25

26   MOTION FOR AND AFFIDAVIT FOR ENTRY OF                    Reld, McCarthy, Ballew & Leahy, L.L.P.
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             i. This action is properly within the Jurisdiction of the Court and venue is
1

                    proper;
2

3              ii. Defendant has contractual obligations to promptly and fully to report for

4                 and pay contributions and dues to Plaintiff Trusts on behalf of each of

5                 its empioyees who are members of the bargaining unit represented by

6
                  the Local;
7
              iii. Defendant specificaiiy accepted the Plaintiff Trusts' Trust Agreements
8
                  and thereby agreed to pay liquidated damages equal to tweive percent
9
                  (12%) of ail deiinquent and delinquently paid contributions, or $25.00
10

It
                  per month, whichever is greater, and twelve percent (12%) annual

12                interest accruing upon each monthly contribution delinquency from the

13                first day thereof until fuily paid, as well as all attorneys fees and costs,

14
                  which Plaintiff Trusts incurred in the coilection of ail of Defendant's
15
                  unpaid obligations.
16
           17. Defendant failed to pay its contributions and dues for the period June
17
     2019 through August 2019. Accordingly, Plaintiffs are entitled to take judgment
18

     against Defendant for the total amount of $111,320.70: $91,590.55 in contributions,
19


20   $5,673.55 in dues, $11,014.25 in liquidated damages; $2,038.35 in pre-judgment

21   interest; $543.00 in attorneys' fees and $461,00 in costs. This is the total amount

22   owed for all three trusts: Locals 302 and 612 of the International Union of Operating

23
     Engineers-Construction Industry Health & Security Fund, Locals 302 and 612 of the
24
     International Union of Operating Engineers-Empioyers Construction industry
25

26   MOTION FOR AND AFFIDAVIT FOR ENTRY OF                     Reid, McCarthy, Ballew & Leahy, L.L.R
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     Retirement Fund, and Western Washington Operating Engineers-Employers Training
1

     Trust Fund, and Local 302.
2

3


4
            I declare under penalty of perjury under the laws of the United States of
5
     America, that the foregoing is true and correct.
6

7

8
                            1 th
            Executed this 24"' day of October, 2019, at Seattle, Klng^ounty, Washington
9

10
                                        Russell J. Reid, WS^yf^o. 2560
11


12                                                   th
            SUBSCRIBED AND SWORN to before me this 24ln day of October, 2019
13
                 SHELLYA2US
14            •NOTARY PUBLIC #68304
              [STATE OF WASHINGTON           /^rint Name: ^hNv Azui
15              COMMISSION EXPIRES             Notary PublCTn and for the State of
                 DECEMBER 9, 2022              Washington, residing at Covington WA
16
                                               My commission expires: 12/9/22
17

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26   MOTION FOR AND AFFIDAVIT FOR ENTRY OF                    Reid, McCarthy, Ballew & Leahy, L.L.P.
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